           Case 1:16-vv-00988-UNJ Document 29 Filed 07/28/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-988V
                                    Filed: February 3, 2017
                                        UNPUBLISHED
*********************************
KIMBERLY DANIEL,                                  *
                                                  *
                         Petitioner,              *
v.                                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Bruce Slane, Law Office of Bruce W. Slane, P.C., White Plains, NY, for petitioner.
Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for respondent.


                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

      On August 11, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration (“SIRVA”). On December 13, 2016, the undersigned issued a decision
awarding compensation to petitioner based on respondent’s proffer. (ECF No. 18).

       On January 13, 2017, petitioner filed a motion for attorneys’ fees and costs.
(ECF No. 22). Petitioner requests attorneys’ fees in the amount of $9,980.00 and
attorneys’ costs in the amount of $547.51 for a total amount of $10,527.51. Id. at 1. In

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-00988-UNJ Document 29 Filed 07/28/17 Page 2 of 2



compliance with General Order #9, petitioner has filed a signed statement indicating
petitioner incurred no out-of-pocket expenses. On January 17, 2017, respondent filed a
response stating respondent has no objection to petitioner’s motion. (ECF No. 23).

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $10,527.51 3 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Bruce Slane, Esq.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. HHS, 924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
